Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18       PageID.2590   Page 1 of 31




                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  ARAB AMERICAN CIVIL                             Case No. 2:17-cv-10310
  RIGHTS LEAGUE (“ACRL”), et al.,

                              Plaintiffs,

                      v.                          Hon. Victoria A. Roberts
                                                  Mag. Judge Stephanie D. Davis
  DONALD TRUMP, President of
  the United States of America, et al.,

                              Defendants.


                   DEFENDANTS’ MOTION TO DISMISS
                PLAINTIFFS’ THIRD AMENDED COMPLAINT
       Defendants hereby move the Court to dismiss Plaintiffs’ Third Amended

 Complaint (ECF No. 124) under Federal Rules of Civil Procedure 12(b)(1) and

 12(b)(6). The grounds for this motion are set forth more fully in the attached

 supporting memorandum.

       Pursuant to Local Rule 7.1, Defendants’ counsel called and e-mailed

 Plaintiffs’ counsel on October 15, 2018, regarding concurrence in this motion.

 Plaintiffs’ counsel advised that they oppose the motion.
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2591    Page 2 of 31




                               ISSUES PRESENTED

       1)     Whether Plaintiffs’ Establishment Clause, Equal Protection, and Free

 Speech claims are foreclosed by Trump v. Hawaii, 138 S. Ct. 2392 (2018), which

 rejected similar constitutional claims after holding that the Proclamation is supported

 by facially legitimate and bona fide reasons, and that the Executive’s foreign-policy

 and national-security judgments survived rational-basis review.

       2)     Whether the organizational Plaintiffs have standing to assert their

 Establishment Clause claim without having suffered any harm.
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18        PageID.2592   Page 3 of 31




                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  ARAB AMERICAN CIVIL                               Case No. 2:17-cv-10310
  RIGHTS LEAGUE (“ACRL”), et al.,

                              Plaintiffs,

                      v.                            Hon. Victoria A. Roberts
                                                    Mag. Judge Stephanie D. Davis
  DONALD TRUMP, President of
  the United States of America, et al.,

                              Defendants.


                   MEMORANDUM OF LAW IN SUPPORT
                  OF DEFENDANTS’ MOTION TO DISMISS
                PLAINTIFFS’ THIRD AMENDED COMPLAINT
                                          JOSEPH H. HUNT
                                          Assistant Attorney General
                                          WILLIAM C. PEACHEY
                                          Director
                                          GISELA A. WESTWATER
                                          Assistant Director
                                          JOSHUA S. PRESS
                                          Trial Attorney
                                          U.S. Department of Justice
                                          Office of Immigration Litigation
                                          District Court Section
                                          P.O. Box 868, Ben Franklin Station
                                          Washington, D.C. 20044
                                          Tel: (202) 305-0106
                                          e-Mail: joshua.press @usdoj.gov
                                          Attorneys for Defendants
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18                              PageID.2593          Page 4 of 31




                                        TABLE OF CONTENTS

 INTRODUCTION .................................................................................................... 1

 STATEMENT OF THE CASE ............................................................................... 3

     I. Legal Background.......................................................................................... 3

     II. Factual And Procedural Background Of The Instant Litigation ............. 7

 STANDARDS OF REVIEW ................................................................................... 9

     I. Federal Rule Of Civil Procedure 12(b)(1) ................................................... 9

     II. Federal Rule Of Civil Procedure 12(b)(6) ................................................... 9

 ARGUMENT .......................................................................................................... 10

     I. Hawaii Makes Plain That Plaintiffs’ Facial Challenges Are Foreclosed . 10

          A.       The Plaintiffs’ Establishment Clause Claim ................................... 12

          B.       The Plaintiffs’ Equal Protection Claim ........................................... 16

          C.       The Plaintiffs’ Free Speech Claim ................................................... 18

     II. The Organizational Plaintiffs Lack Standing To Bring An
         Establishment Clause Claim ....................................................................... 19

 CONCLUSION....................................................................................................... 21




                                                          i
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18                              PageID.2594          Page 5 of 31




                                     TABLE OF AUTHORITIES

                                                       Cases

 Allen v. Wright,
   468 U.S. 737 (1984) .............................................................................................20

 Almario v. Att’y Gen.,
   872 F.2d 147 (6th Cir. 1989) ........................................................................ 14, 15

 Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................10

 Bangura v. Hansen,
   434 F.3d 487 (6th Cir. 2006) ........................................................................ 12, 17

 Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) .............................................................................................10

 Ben-Issa v. Reagan,
   645 F. Supp. 1556 (W.D. Mich. 1986) ................................................................19

 Cartwright v. Garner,
   751 F. 3d 752 (6th Cir. 2014) ................................................................................9

 FCC v. Beach Commcn’s, Inc.,
   508 U.S. 307 (1993) .............................................................................................14

 Fiallo v. Bell,
   430 U.S. 787 (1977) ................................................................................ 11, 17, 18

 Gross v. Hougland,
   712 F.2d 1034 (6th Cir. 1983) ...............................................................................9

 Guzman v. U.S. Dep’t of Homeland Sec.,
   679 F.3d 425 (6th Cir. 2012) ...............................................................................17

 Hawaii v. Trump,
   265 F. Supp. 3d 1140 (D. Haw. 2017) ...................................................................6


                                                           ii
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18                              PageID.2595          Page 6 of 31



 Hawaii v. Trump,
   859 F.3d 741 (9th Cir. 2017) .................................................................................4

 Hawaii v. Trump,
   878 F.3d 662 (9th Cir. 2017) .................................................................................7

 Heller v. Doe by Doe,
   509 U.S. 312 (1993) ...................................................................................... 12, 14

 Hussein v. Beecroft, No. 17-cv-12356,
   2018 WL 3574717 (E.D. Mich. July 25, 2018) .................................................2, 3

 IRAP v. Trump,
   265 F. Supp. 3d 570 (D. Md. 2017) .......................................................................6

 IRAP v. Trump,
   857 F.3d 554 (4th Cir. 2017) .................................................................................4

 IRAP v. Trump,
   883 F.3d 233 (4th Cir. 2018) .................................................................................7

 King v. Burwell,
   135 S. Ct. 2480 (2015) .........................................................................................21

 Kleindienst v. Mandel,
   408 U.S. 753 (1972) ..................................................................................... passim

 Kokkenen v. Guardian Life Ins. Co. of Am.,
   511 U.S. 375 (1994) ...............................................................................................9

 Mathews v. Diaz,
  426 U.S. 67 (1976) ...............................................................................................17

 Moir v. Greater Cleveland Reg’l Transit Auth.,
  895 F.2d 266 (6th Cir. 1990) .................................................................................9

 In re Navy Chaplaincy,
    534 F.3d 756 (D.C. Cir. 2008) .............................................................................21



                                                           iii
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18                               PageID.2596          Page 7 of 31



 In re Omnicare, Inc. Sec. Litig.,
    769 F.3d 455 (6th Cir. 2014) ...............................................................................10

 Plyler v. Doe,
   457 U.S. 202 (1982) .............................................................................................14

 Reno v. Am.-Arab Anti-Discrimination Comm.,
   525 U.S. 471 (1999) .............................................................................................16

 Roudnahal v. Ridge,
   310 F. Supp. 2d 884 (N.D. Ohio 2003)................................................................17

 Saravia v. Sessions,
   280 F. Supp. 3d 1168 (N.D. Cal. 2017) .................................................................8

 Steel Co. v. Citizens for a Better Env’t,
   523 U.S. 83 (1998) .................................................................................................9

 Trump v. Hawaii,
   138 S. Ct. 377 (2017) .............................................................................................4

 Trump v. Hawaii,
   138 S. Ct. 2392 (2018) ................................................................................. passim

 Trump v. IRAP,
   137 S. Ct. 2080 (2017) ...........................................................................................4

 Trump v. IRAP,
   138 S. Ct. 353 (2017) .............................................................................................4

 United States v. Munsingwear, Inc.,
   340 U.S. 36 (1950) .................................................................................................4

 United States v. Salerno,
   481 U.S. 739 (1987) .............................................................................................12

 Valley Forge Christian Coll. v. Ams. Utd. for Separation of Church & State, Inc.,
   454 U.S. 464 (1982) ...................................................................................... 20, 21



                                                           iv
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18                                 PageID.2597           Page 8 of 31




                                                       Statutes

 8 U.S.C. § 1182(f) ......................................................................................................7




                                                            v
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18        PageID.2598    Page 9 of 31




                                  INTRODUCTION

       Defendants, through their attorneys, hereby submit this brief in support of

 their Motion to Dismiss (ECF No. 128) Plaintiffs’ Third Amended Complaint (ECF

 No. 124) (hereinafter, “Plaintiffs’ Complaint” or “Compl.”). Consistent with the

 President’s broad constitutional authority over foreign affairs and national security,

 Sections 1182(f) and 1185(a) of Title 8 expressly authorize him to restrict or suspend

 the entry of any class of aliens when he determines it is in the national interest.

 Pursuant to these authorities, the President issued Proclamation No. 9645 on

 September 24, 2017, which suspended entry of certain nationals of eight countries

 whose governments do not share adequate information with the United States or

 have other national-security risk factors.

       That Proclamation recognized the importance of information-sharing and

 identity-management protocols in the vetting of foreign nationals and imposed

 tailored restrictions in order to induce those governments to improve their

 cooperation. See Presidential Proclamation 9645, 82 Fed. Reg. 45161 (Sept. 24,

 2017) (“Proclamation”). The Proclamation also calls for regular reviews of these

 countries’ efforts, and, in April 2018, the President terminated the restrictions on

 Chad based on its improved coordination with the United States in the vetting of its

 foreign nationals. See Presidential Proclamation Maintaining Enhanced Vetting

 Capabilities and Processes for Detecting Attempted Entry into the United States by


                                              1
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2599    Page 10 of 31



  Terrorists or Other Public-Safety Threats, April 10, 2018. And as Plaintiffs are well

  aware, the Supreme Court recently rejected both statutory and constitutional

  challenges to the Proclamation. See Trump v. Hawaii, 138 S. Ct. 2392 (2018). The

  Supreme Court’s reasoning in Hawaii forecloses Plaintiffs’ suit.

         Notwithstanding the Supreme Court’s decision in Hawaii, the Plaintiffs (both

  organizational and individual) bring a facial challenge against the Proclamation,

  claiming that it violates the Establishment Clause (Count I), Compl. ¶¶ 394–403, the

  Fifth Amendment’s equal-protection component by discriminating against Muslims

  (Count II), id. at ¶¶ 404–418, and the Free Speech Clause (Count III), id. at ¶¶ 419–

  434.1 Plaintiffs ask this Court to micro-manage the Proclamation by only enjoining

  its application to aliens from “Iran, Libya, Somalia, Syria[,] and Yemen,” id. at

  ¶ 124. In addition, the individual Plaintiffs seek to represent a purported class of

  persons who may or may not be affected by the Proclamation, in a subset of the

  countries covered by the Proclamation, see id. at ¶¶ 386–93, and they ask this Court

  to “declar[e] that [the Proclamation] is unlawful and invalid” in toto, id. at 124.

         Several Plaintiffs do not have standing or justiciable claims. But even if all of


     1
         Plaintiffs’ Complaint mentions how they have outstanding waiver requests,
  see, e.g., Compl. ¶ 342, but because the Plaintiffs are bringing a facial challenge,
  their arguments do not depend on their individual circumstances vis-à-vis potential
  waivers. Moreover, Plaintiffs’ challenges to the waiver process would be barred by
  the doctrine of consular nonreviewability, which prohibits courts from second
  guessing the decisions of consular officers adjudicating visa applications. See, e.g.,
  Hussein, 2018 WL 3574717, at *5–6.

                                             2
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2600     Page 11 of 31



  Plaintiffs’ claims were justiciable, those claims still fail on the merits because the

  Supreme Court has already ruled that the Proclamation stands upon a “facially

  legitimate and bona fide reason” and survives rational-basis review. See Hawaii, 138

  S. Ct. at 2419. “Once this standard is met, courts will neither look behind the exercise

  of that discretion, nor test it by balancing its justification against the constitutional

  interests of citizens the visa denial might implicate.” Hussein v. Beecroft, No. 17-cv-

  12356, 2018 WL 3574717, at *5 (E.D. Mich. July 25, 2018) (quotations omitted);

  accord Hawaii, 138 S. Ct. at 2419–2420 (same). As the Supreme Court put it in

  rejecting virtually the same constitutional attacks just months ago, “because there is

  persuasive evidence that the entry suspension has a legitimate grounding in national

  security concerns, quite apart from any religious hostility, we must accept that

  independent justification.” Hawaii, 138 S. Ct. at 2421. Simply put, the Plaintiffs’

  claims are foreclosed by Hawaii and Mandel, and no amount of facts or allegations

  will undermine how the Proclamation is facially legitimate and based upon a valid

  rational basis. The Court should therefore dismiss the Complaint with prejudice.

                            STATEMENT OF THE CASE

   I.   Legal Background.
        Since Defendants filed their Motion to Dismiss Plaintiffs’ Second Amended

  Complaint (ECF No. 44), there have been significant developments. Specifically,

  Executive Order No. 13,780, 82 Fed. Reg. 13,209 (Mar. 9, 2017), which Plaintiffs



                                             3
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18       PageID.2601    Page 12 of 31



  challenged in that complaint, was partially enjoined by two district courts, and the

  Fourth and Ninth Circuits upheld those injunctions in substantial part. See Int’l

  Refugee Assist. Project (“IRAP”) v. Trump, 857 F.3d 554 (4th Cir. 2017) (en banc);

  Hawaii v. Trump, 859 F.3d 741 (9th Cir. 2017) (per curiam), respectively. The

  Supreme Court granted certiorari and stayed those injunctions pending review

  except for aliens with a “credible claim of a bona fide relationship with” a U.S.

  person or entity. Trump v. IRAP, 137 S. Ct. 2080, 2086, 2088–89 (2017) (per

  curiam). Before the Supreme Court completed its review, Executive Order No.

  13,780 expired, and thus the Court vacated the lower courts’ rulings as moot. Trump

  v. IRAP, 138 S. Ct. 353 (2017) (citing United States v. Munsingwear, Inc., 340 U.S.

  36, 39 (1950)); Trump v. Hawaii, 138 S. Ct. 377 (2017) (same).

        During that time, the Department of Homeland Security (“DHS”), in

  consultation with the State Department and the Office of the Director of National

  Intelligence, conducted the review that the President had directed. See Proclamation

  § 1(c). The agencies undertook “to identify whether, and if so what, additional

  information will be needed from each foreign country to adjudicate an application

  by a national of that country for a visa, admission, or other benefit under the

  [Immigration and Nationality Act (“INA”)] … in order to determine that the

  individual is not a security or public-safety threat.” Id. The review examined

  “[i]nformation-sharing and identity-management protocols and practices of foreign



                                           4
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18        PageID.2602     Page 13 of 31



  governments.” Id. § 1(b). After completing “this worldwide review, the President

  issued the Proclamation” on September 24, 2017 “to improve vetting procedures”

  regarding foreign nationals. Hawaii, 138 S. Ct. at 2404. “To further that purpose, the

  Proclamation placed entry restrictions on the nationals of eight foreign states whose

  systems for managing and sharing information about their nationals the President

  deemed inadequate.” Id.

         Among those eight countries, “[t]he Proclamation imposed a range of

  restrictions that vary based on the ‘distinct circumstances’ in each[.]” Id. (quoting

  Proclamation § 1(h)). Iran, North Korea, and Syria, for example, did not cooperate

  with the United States in identifying security risks and the Proclamation thus

  suspends entry of all those countries’ nationals, except for Iranians seeking

  nonimmigrant student and exchange-visitor visas. See Proclamation §§ 2(b)(ii),

  (d)(ii), (e)(ii). For countries that have information-sharing deficiencies such as

  Chad,2 Libya, and Yemen, the Proclamation restricts entry of their nationals seeking

  immigrant visas and nonimmigrant business or tourist visas. Id. §§ 2(a) (i), (c)(i),

  (g)(i). Although Somalia generally satisfied the baseline criteria, the President

  concluded that it presented other special risk factors. Therefore, the Proclamation

  suspends entry of Somali nationals seeking immigrant visas and requires additional



     2
         As previously noted, however, Chad was later removed from the list of
  affected countries via a subsequent Proclamation. See supra at p. 1–2.

                                            5
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18            PageID.2603      Page 14 of 31



  scrutiny for those seeking nonimmigrant visas. Id. § 2(h)(ii). And with Venezuela,

  “the Proclamation limits entry only of certain government officials and their family

  members on nonimmigrant business or tourist visas.” Hawaii, 138 S. Ct. at 2406

  (citing Proclamation § 2(f) (ii)).

         The Proclamation includes various exclusions and exceptions, Proclamation

  § 3(a)–(b), provides for case-by-case waivers for cases of undue hardship and where

  the alien’s entry would be in the national interest, id. § 3(c)(i), (iv) (listing examples),

  and directs DHS to assess on a continuing basis whether entry restrictions should be

  modified or continued, and to report to the President every 180 days, id. § 4. After

  the first 180-day period, DHS determined that Chad had sufficiently improved its

  practices and the President “accordingly lifted restrictions on its nationals.” Hawaii,

  138 S. Ct. at 2406 (citing Presidential Proclamation No. 9723, 83 Fed. Reg. 15937

  (2018)).

         Shortly after its issuance, the Proclamation’s entry restrictions were enjoined

  by the District Court for the District of Hawaii. See, e.g., Hawaii v. Trump, 265 F.

  Supp. 3d 1140, 1155–59 (D. Haw. 2017). That same day, the District Court for the

  District of Maryland also entered a nationwide preliminary injunction against

  enforcement of Section 2(c) of the Order. See IRAP v. Trump, 265 F. Supp. 3d 570

  (D. Md. 2017). The respective Courts of Appeals declined to stay the district courts’

  orders. The Supreme Court granted a stay of the injunctions “pending disposition of



                                               6
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2604    Page 15 of 31



  the Government’s appeal[s].” Hawaii, 138 S. Ct. at 2406. The Ninth and Fourth

  Circuits affirmed the district courts’ injunctions, Hawaii v. Trump, 878 F.3d 662,

  684, 688 (9th Cir. 2017), IRAP v. Trump, 883 F.3d 233 (4th Cir. 2018), the federal

  government appealed, and the Supreme Court granted the government’s petition for

  a writ of certiorari, 138 S. Ct. 923 (2018). On June 26, 2018, the Supreme Court held

  that President Trump permissibly exercised his “broad discretion” under 8 U.S.C.

  § 1182(f) of the INA in issuing the Proclamation, see Hawaii, 138 S. Ct. at 2407–

  10, further held that the plaintiffs had not shown a likelihood of success on their

  claim that the Proclamation was unconstitutionally designed to discriminate against

  Muslims, id. at 2423. Following the Supreme Court’s decision, a number of

  challenges to the Proclamation have been voluntarily dismissed by the plaintiffs. See

  Hawaii v. Trump, No. 17-cv-0050 (D. Haw. dismissed on Aug. 13, 2018); Ali v.

  Trump, No. 2:17cv135 (W.D. Wash. dismissed on Sept. 21, 2018); Pars Equality

  Ctr. v. Trump, No. 17-cv-255 (D.D.C. dismissed on Aug. 9, 2018).

   II.   Factual And Procedural Background Of The Instant Litigation.
         Plaintiffs filed their initial complaint on January 31, 2017, with six individual

  plaintiffs. Over the course of litigation, several plaintiffs have been added and

  dismissed,3 until only four individual plaintiffs remain to represent a purported class



     3
         The remaining plaintiffs were voluntarily dismissed at various stages. See,
  e.g., ECF Nos. 42, 125.

                                             7
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2605     Page 16 of 31



  of persons from the five countries they identify. See Compl. ¶ 386. The individual

  plaintiffs all reside in the United States and are petitioning for immediate relatives

  (spouses, parents, and minor children), who are citizens of either Yemen or Somalia,

  see id. ¶¶ 29–33, to apply for visas overseas.4 There are also five organizational

  plaintiffs seeking to represent the interests of the individual plaintiffs or their own

  free speech interests in sponsoring nationals of the designated countries to the United

  States. See id. ¶¶ 23–27.

         In the earlier round of litigation, Plaintiffs sought discovery, ECF No. 43, but

  this Court denied that motion and stayed discovery pending the Supreme Court’s

  dispositions of the then-pending appeals, finding that the Government had

  “sufficiently demonstrated that the dispositive effect of the Supreme Court’s review

  in [IRAP v. Trump] and judicial economy achieved by awaiting that review weigh in

  favor of granting a stay.” ECF No. 114 at 4.

         Less than three months following the Supreme Court’s decision in Trump v.

  Hawaii, Plaintiffs filed their third amended complaint.




     4
         Defendants intend to oppose class certification when raised. In addition, as
  the two Alshawhish plaintiffs have no connection whatsoever to this judicial district,
  see Compl. ¶ 30 (noting how “the two reside in New York,” which is not within the
  Eastern District of Michigan), they have failed to “independently establish venue”
  and their claims should be dismissed, Saravia v. Sessions, 280 F. Supp. 3d 1168,
  1191 (N.D. Cal. 2017) (“[T]he rule in a proposed class action is that each named
  plaintiff must independently establish venue.”).

                                             8
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2606    Page 17 of 31




                             STANDARDS OF REVIEW

    I.   Federal Rule Of Civil Procedure 12(b)(1).
         Federal courts are courts of limited jurisdiction and “possess only that power

  authorized by Constitution and statute.” See Kokkenen v. Guardian Life Ins. Co. of

  Am., 511 U.S. 375, 377 (1994). Plaintiffs bear the burden of establishing subject

  matter jurisdiction, Cartwright v. Garner, 751 F. 3d 752, 760 (6th Cir. 2014), and

  this issue must be addressed before all others, see, e.g., Moir v. Greater Cleveland

  Reg’l Transit Auth., 895 F.2d 266, 269 (6th Cir. 1990); Gross v. Hougland, 712 F.2d

  1034 (6th Cir. 1983).

         A court may resolve a motion to dismiss for lack of subject matter jurisdiction

  under Rule 12(b)(1) in two ways. Defendants may assert either a facial or a factual

  challenge to jurisdiction by filing a motion to dismiss under Rule 12(b)(1). Garner,

  751 F. 3d at 759. In a facial attack, the court assumes that the allegations in the

  complaint are true and does not look beyond them to evaluate jurisdiction. Id. When

  a defendant launches a factual attack, the court may look beyond the allegations in

  the complaint and consider whether external facts call jurisdiction into question. Id.

  If a court lacks subject matter jurisdiction, it must dismiss the suit. See Steel Co. v.

  Citizens for a Better Env’t, 523 U.S. 83, 94–95 (1998).

   II.   Federal Rule Of Civil Procedure 12(b)(6).
         A court must dismiss a pleading that fails to “state a claim upon which relief



                                             9
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18           PageID.2607     Page 18 of 31



  can be granted.” Fed. R. Civ. P. 12(b)(6). To succeed against a motion to dismiss

  under Rule 12(b)(6), “a complaint must contain sufficient factual matter, accepted

  as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009) (internal quotation marks and citation omitted). In assessing a

  pleading’s sufficiency, a court must construe the complaint in the light most

  favorable to the plaintiff, and accept as true all genuine factual allegations, but

  ignore “legal conclusion[s] couched as” facts. Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 555, 557 (2007).

        Generally, “at the motion-to-dismiss stage, a federal court may consider

  only the plaintiff’s complaint. However, ... if a plaintiff references or quotes

  certain documents, or if public records refute a plaintiff’s claims,” the court “can

  then consider [those documents] in resolving the Rule 12(b)(6) motion without

  converting the motion to dismiss into a Rule 56 motion for summary judgment.”

  In re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 466 (6th Cir. 2014) (internal

  citation omitted).

                                      ARGUMENT

   I.   Hawaii Makes Plain That Plaintiffs’ Facial Challenges Are Foreclosed.
        As the Supreme Court explained in Hawaii, when the Executive Branch

  exercises its delegated power in the INA to exclude foreign nationals on the basis of

  a “facially legitimate and bona fide reason,” courts should not look behind the



                                             10
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18            PageID.2608     Page 19 of 31



  exercise of that discretion nor test it by balancing its justification against the asserted

  constitutional interests of U.S. persons. See 138 S. Ct. at 2419 (citing Kleindienst v.

  Mandel, 408 U.S. 753 (1972)). “The [Court’s] … opinions have reaffirmed and

  applied [Mandel]’s deferential standard of review across different contexts and

  constitutional claims.” Id. Consequently, this Court’s review is limited to whether

  the Proclamation provides a “facially legitimate and bona fide reason” for the

  challenged entry procedures. Id. at 2420. It does.

         Under Mandel’s deferential standard of review, the Supreme Court has

  already upheld the very same Proclamation that Plaintiffs challenge here against

  constitutional claims that are either identical or very similar to those raised by

  Plaintiffs. Id. at 2423.

         The Court in Hawaii rejected an Establishment Clause challenge to the

  Proclamation that is virtually identical to Plaintiff’s cause of action. See 138 S. Ct.

  at 2420–23. Plaintiffs also raise equal protection and freedom of speech claims, but

  the limited Mandel standard governs those as well: the Court applied the Mandel

  standard in the context of an equal protection claim in Fiallo v. Bell, 430 U.S. 787

  (1977); and Mandel itself was a free speech case, 408 U.S. at 769. The Supreme

  Court’s conclusion that the Proclamation satisfies Mandel’s narrow standard of

  review should therefore be dispositive of each of Plaintiffs’ claims.

         In applying Mandel’s deferential standard of review, the Sixth Circuit has



                                              11
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2609     Page 20 of 31



  explained that courts must “uphold[] immigration [laws] so long as they are

  conceivably related to the achievement of a federal interest.” Bangura v. Hansen,

  434 F.3d 487, 495 (6th Cir. 2006) (quotations omitted); see also Hawaii, 138 S. Ct.

  at 2420 (stating that, assuming the Court is permitted to look behind the face of the

  Proclamation, it would apply only rational basis review). This is especially relevant

  for Plaintiffs’ facial challenges, where “[t]he burden is on the one attacking the

  legislative arrangement to negative every conceivable basis which might support it.”

  Heller v. Doe by Doe, 509 U.S. 312, 320 (1993) (quotations omitted); accord United

  States v. Salerno, 481 U.S. 739, 745 (1987) (“A facial challenge to a legislative Act

  is, of course, the most difficult challenge to mount successfully, since the challenger

  must establish that no set of circumstances exists under which the Act would be

  valid.”). Regardless, the Proclamation easily satisfies rational-basis review given its

  national-security justifications; Plaintiffs simply have chosen to ignore how the

  Court so concluded in Hawaii, but their disagreement with the policy does not mean

  that the Proclamation fails to satisfy that lower standard. 138 S. Ct. at 2423.

        A. The Plaintiffs’ Establishment Clause Claim.
        Hawaii makes plain that “Mandel’s narrow standard of review” should be

  applied to Plaintiffs’ Establishment Clause claim. See Hawaii, 138 S. Ct. at 2420.

  The Court’s treatment and conclusion under that test was swift, decisive, and

  controls here: “A conventional application of Mandel, asking only whether the



                                            12
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2610    Page 21 of 31



  policy is facially legitimate and bona fide, [sh]ould put an end to our review” of the

  Proclamation. See id. There is thus no role for this Court to consider Plaintiffs’

  argument that the Proclamation’s justifications are a “pretext.” Compl. ¶ 400. As the

  Court explained in both Mandel and Hawaii, determining whether the Executive

  Branch’s decision rests on a “facially legitimate and bona fide reason” does not

  include “look[ing] behind” that reason. Mandel, 408 U.S. at 769–70; Hawaii, 138 S.

  Ct. at 2419.

        Courts can ensure that the stated rationale is valid, but Mandel precludes

  searching for ulterior motives. Id. The Hawaii Court’s treatment of the exact same

  Establishment Clause claim forecloses the theory that Plaintiffs are now pursuing in

  order to find the supposed “true” reason for a Proclamation that is on its face neutral

  with respect to religion. See 138 S. Ct. at 2421 (“The Proclamation is expressly

  premised on legitimate purposes: preventing entry of nationals who cannot be

  adequately vetted and inducing other nations to improve their practices.”). Put

  another way, the Supreme Court has already held that the Proclamation is facially

  neutral and constitutionally justifiable in light of its national security and foreign

  affairs justifications. See Hawaii, 138 S. Ct. at 2421.

        Even if the Court goes beyond Mandel’s standard, the Hawaii Court

  confirmed that the Proclamation survives rational-basis scrutiny against an identical

  Establishment Clause claim. Rational-basis review examines whether the



                                            13
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2611     Page 22 of 31



  “classification at issue bears some fair relationship to a legitimate public purpose.”

  Plyler v. Doe, 457 U.S. 202, 216 (1982). It is “not a license for courts to judge the

  wisdom, fairness, or logic of legislative choices.” Heller v. Doe by Doe, 509 U.S.

  312, 319–20 (1993) (quoting FCC v. Beach Commcn’s, Inc., 508 U.S. 307, 313

  (1993)). Under rational basis review, a classification is permissible “if there is any

  reasonably conceivable state of facts that could provide a rational basis.” Id.; accord

  Almario v. Att’y Gen., 872 F.2d 147, 151 (6th Cir. 1989) (“The holdings of

  Kleindienst and Fiallo require that we exercise a very narrow standard of review

  assuming the classification at issue in this case is supported by a facially legitimate

  and bona fide reason.”).

        In this case, just as in Hawaii, the Plaintiffs alleged that the same Proclamation

  “discriminat[es] against Muslims, disfavoring and disadvantaging Islam as

  compared to other religions, establishing a preference for one religion over another.”

  Compl. ¶ 396; cf. Hawaii, 138 S. Ct. at 2414 (describing the Hawaii plaintiffs’

  allegation that “the Proclamation was issued for the unconstitutional purpose of

  excluding Muslims”). The Plaintiffs likewise insist that the Proclamation must be

  viewed in conjunction with past Executive Orders, see, e.g., Compl. ¶¶ 396–400

  (“EO-3 and the Prior Orders”), “that the waiver process is a sham,” id. at ¶ 401, and

  that it is based on animus instead of being “rationally related to legitimate national




                                            14
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18           PageID.2612     Page 23 of 31



  security concerns,” id. at ¶ 402; cf. Hawaii, 138 S. Ct. at 2420–23 & n.7 (discussing

  the same extrinsic evidence, “animus” argument, and waiver process.).

        But despite these exact same arguments against the Proclamation, the

  Supreme Court ruled that there are “legitimate national-security interest[s]” and

  foreign-policy concerns to satisfy the rational-basis standard and upheld it against

  the same Establishment Clause challenge. Id. at 2422. Whatever one might think of

  the Proclamation as a matter of policy, it is justifiable given that its national security

  concerns were based on a multi-agency, country-by-country analysis of vetting

  procedures. “The Proclamation is expressly premised on legitimate purposes:

  preventing entry of nationals who cannot be adequately vetted and inducing other

  nations to improve their practices. The text says nothing about religion.” Id. at 2421

  (noting how the Proclamation “reflects the results of a worldwide review process

  undertaken by multiple Cabinet officials and their agencies” and concluding that “in

  each case the determinations were justified by the distinct conditions in each

  country” (emphasis added)). And if there are any legitimate national-security

  reasons to control the entry of nationals from each of the Proclamation’s affected

  countries, that is enough to satisfy rational basis. See Almario, 872 F.2d at 151–52.

  That should be the end of the inquiry.

        Plaintiffs may wish to test the wisdom of the President’s judgments on these

  issues,   but   binding    decisions    have    squarely    held   that,   when    “[t]he



                                             15
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2613    Page 24 of 31



  Executive...deem[s] nationals of a particular country a special threat,” “a court

  would be ill equipped to determine the[] authenticity and utterly unable to assess

  the[] adequacy” of that determination. Reno v. Am.-Arab Anti-Discrimination

  Comm., 525 U.S. 471, 491 (1999). This is precisely the same reasoning that the Court

  found controlling in Hawaii: “[Plaintiffs] suggest that the [Proclamation] is

  overbroad and does little to serve national security interests. But we cannot substitute

  our own assessment for the Executive’s predictive judgments on such matters[.]”

  138 S. Ct. at 2421. In short, there is no material difference between Plaintiffs’

  Establishment Clause claim and the claim that the Supreme Court rejected in Hawaii

  as unlikely to succeed. For that reason, Plaintiffs’ claim must be dismissed.

        B. The Plaintiffs’ Equal Protection Claim.

        In an attempt to get around Hawaii’s Establishment Clause ruling, Plaintiffs

  also claim that the Proclamation violates the equal protection component of the Fifth

  Amendment’s Due Process Clause by discriminating on the basis of religion (Count

  II). This is a transparent attempt to restate the exact same type of legal claim under

  the heading of a different constitutional provision. Regardless, the Supreme Court

  has held that, for Executive actions restricting which aliens are permitted to enter the

  United States, the deferential Mandel standards still governs regardless of how a

  claim is pleaded. See Hawaii, 138 S. Ct. at 2419 (noting that the Court’s “opinions

  have reaffirmed and applied [Mandel’s] deferential standard of review across



                                            16
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18        PageID.2614     Page 25 of 31



  different contexts and constitutional claims”); see also Bangura, 434 F.3d at 494–

  95 (same). For example, the Court applied the Mandel standard to equal protection

  claims in Fiallo v. Bell. See 430 U.S. at 795.

        If the Court analyzes this case through the prism of Mandel and Fiallo, it is

  well-settled that where an equal protection claim is brought against an immigration

  regulation, only rational basis review applies. Plaintiffs’ argue that strict scrutiny

  should be applied, see Compl. ¶ 406, but that position is inconsistent with Hawaii

  and has been repeatedly rejected in other cases, as well. See, e.g., Mathews v. Diaz,

  426 U.S. 67, 83 (1976) (considering whether a law that made distinctions based on

  alien status was “wholly irrational”); Guzman v. U.S. Dep’t of Homeland Sec., 679

  F.3d 425, 432 (6th Cir. 2012) (“[D]eference to Congress with respect to immigration

  law has led this court to uphold statutory distinctions between classes of aliens if

  predicated on a rational basis.” (internal quotation marks omitted)); Roudnahal v.

  Ridge, 310 F. Supp. 2d 884, 892 (N.D. Ohio 2003) (upholding a program requiring

  male nonimmigrant aliens from designated countries to be fingerprinted and

  registered because “the Executive is designed and entrusted to best shape our

  national security,” the “current military operations in the Middle East,” and “a

  heightened terrorist threat-environment at home and abroad”).

        The Proclamation easily satisfies the Sixth Circuit’s rational-basis standard.

  Regarding Plaintiffs’ allegation that the Proclamation stems from an animus toward



                                           17
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2615    Page 26 of 31



  Muslims, see, e.g., Compl. ¶ 407, there is nothing in the Proclamation discussing

  Islam or any other religion. Furthermore, the Hawaii Court specifically pointed to

  the “persuasive evidence that the entry suspension has a legitimate grounding in

  national security concerns, quite apart from any religious hostility,” and determined

  that courts “must accept that independent justification.” 138 S. Ct. at 2421.

  Ultimately, it is not for the courts to second-guess these national security decisions

  within the context of immigration where, as here, those decisions are supported by

  a “facially legitimate and bona fide reason.” Fiallo, 430 U.S. at 794. Plaintiffs have

  not pleaded any allegations beyond those already brought to the Supreme Court in

  Hawaii that would allow this Court to conclude that, as a matter of law, the

  Proclamation lacks any rational basis.

        C. The Plaintiffs’ Free Speech Claim.
         Although the First Amendment protects the right to receive information and

  ideas, the outcome in Mandel should directly control here: In Mandel, the plaintiffs

  were American students and scholars who challenged the federal government’s

  refusal to issue a waiver of a visa ineligibility ground to Professor Mandel, a Belgian

  journalist. 408 U.S. at 769–70. A consular officer determined that he was ineligible

  to receive a visa, and the Attorney General declined to exercise his discretion to

  waive this finding of ineligibility. See id. The Supreme Court upheld the Executive

  Branch’s power to exclude the non-resident alien based on general concerns with



                                            18
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18          PageID.2616     Page 27 of 31



  him and his past visa overstay.

         Despite recognizing the free-speech interests of the plaintiffs who wished to

  hear Professor Mandel, the Supreme Court accepted the Attorney General’s

  “facially legitimate and bona fide reason” for declining to grant Professor Mandel

  a waiver. Id. at 769. Mandel is on all fours with the present case: Plaintiffs seek to

  invite aliens abroad to the United States to hear what they have to say. See, e.g.,

  Compl. ¶¶ 306–12. But Mandel’s deferential standard of review controls that

  claim, meaning that the government need only provide a facially legitimate and

  bona fide reason for denying entry. And as explained above, the Supreme Court has

  already held that the Proclamation is facially legitimate and supported by a bona fide

  justification. As the Court said in Hawaii, “the upshot of [the Court’s] cases in this

  context is clear: … [any] inquiry into matters of entry and national security is

  highly constrained. We need not define the precise contours of that inquiry in

  this case [because a] conventional application of Mandel[] ask[s] only whether

  the policy is facially legitimate and bona fide[.]” 138 S. Ct. at 2420; see also Ben-

  Issa v. Reagan, 645 F. Supp. 1556, 1562–64 (W.D. Mich. 1986).

   II.   The Organizational Plaintiffs Lack Standing To Bring An
         Establishment Clause Claim.

         The organizational Plaintiffs, at least, lack standing to assert their

  Establishment Clause claim (Count I). Even though they have invoked the

  Establishment Clause and the “stigma” they or their members may be experiencing,


                                             19
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2617    Page 28 of 31



  see, e.g., Compl. ¶ 230, they assert no cognizable violation of their own rights under

  that Clause. Standing to make an Establishment Clause claim requires that Plaintiffs

  demonstrate a “concrete and particularized injury” caused by the Proclamation. But

  the organizational Plaintiffs here allege only a disagreement with the policy and what

  they suspect were its “real” motivations. This does not suffice to confer standing

  here. See Valley Forge Christian Coll. v. Ams. Utd. for Separation of Church &

  State, Inc., 454 U.S. 464 (1982). In this case, the Proclamation does not regulate the

  organizational Plaintiffs at all—it applies only to aliens abroad. This creates a fatal

  mismatch for standing purposes because U.S. plaintiffs cannot assert a derivative

  Establishment Clause claim predicated on indirect effects of alleged discrimination

  against aliens who themselves have no such rights to assert.

        The same holds true for Plaintiffs’ purported “stigmatic and dignitary harms.”

  Compl. ¶ 9. The Supreme Court has “ma[de] clear” that “the stigmatizing injury

  often caused by racial [or other invidious] discrimination … accords a basis for

  standing only to ‘those persons who are personally denied equal treatment’ by the

  challenged discriminatory conduct.” Allen v. Wright, 468 U.S. 737, 755 (1984)

  (citation omitted). That principle controls here and dooms at least the organizational

  Plaintiffs’ Establishment Clause standing: “the psychological consequence

  presumably produced by observation of conduct with which one disagrees” is not

  the type of “personal injury” that supports standing, “even though the disagreement



                                            20
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2618    Page 29 of 31



  is phrased in [Establishment Clause] terms.” Valley Forge, 454 U.S. at 485–86.

        It is important to note that the Proclamation says nothing about religion and

  does not subject the Plaintiffs to any religious exercise. Hawaii, 138 S. Ct. at 2421.

  Their entire theory of the case is solely premised upon non-textual, extrinsic

  statements that are nowhere within the Proclamation’s language or stated purposes.

  As then-Judge Kavanaugh explained in rejecting a similar challenge, allowing a

  putative Establishment Clause plaintiff to “re-characterize[]” an abstract injury

  flowing from “government action” directed against others as their own personal

  injury from “a governmental message [concerning] religion” would “eviscerate

  well-settled standing limitations.” In re Navy Chaplaincy, 534 F.3d 756, 764 (D.C.

  Cir. 2008). Without direct harm to their own religious interests or practices,

  Plaintiffs’ position would mean that the plaintiffs in Valley Forge would have had

  standing if they had simply alleged that the transfer of land without cost to a

  Christian college sent a pro-Christian or anti-atheist message. That cannot be correct

  and arguments to the contrary must fail where nothing in the Proclamation’s text

  supports such a reading. See, e.g., King v. Burwell, 135 S. Ct. 2480, 2489 (2015) (“If

  the statutory language is plain, we must enforce it according to its terms.”).

                                    CONCLUSION

        For the aforementioned reasons, this Court should dismiss Plaintiffs’ Third

  Amended Complaint with prejudice.



                                            21
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18   PageID.2619   Page 30 of 31



  Dated: October 15, 2018            Respectfully submitted,

                                     JOSEPH H. HUNT
                                     Assistant Attorney General

                                     WILLIAM C. PEACHEY
                                     Director

                                     GISELA A. WESTWATER
                                     Assistant Director

                                     /s/ Joshua S. Press
                                     JOSHUA S. PRESS
                                     Trial Attorney
                                     U.S. Department of Justice
                                     Office of Immigration Litigation
                                     District Court Section
                                     P.O. Box 868, Ben Franklin Station
                                     Washington, D.C. 20044
                                     Tel: (202) 305-0106
                                     e-Mail: joshua.press @usdoj.gov

                                     Attorneys for Defendants




                                       22
Case 2:17-cv-10310-VAR-SDD ECF No. 128 filed 10/15/18         PageID.2620    Page 31 of 31




                            CERTIFICATE OF SERVICE

        I certify that I served the foregoing document on all parties of record by

  filing this document with the Clerk of the Court using the CM/ECF system, which

  will provide notice and an electronic link to this document to all parties of record.

                                          /s/ Joshua S. Press
                                          U.S. Department of Justice




                                            23
